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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ROOPALI YADAV, Ph.D.,
3336 Spring Lane, Apt. A20,                          CIVIL ACTION NO.:
Falls Church, Virginia 22041
                                                     COMPLAINT FOR DECLARATORY
Plaintiff,                                           RELIEF AND REVIEW OF AGENCY
                                                     ACTION UNDER THE
         v.                                          ADMINISTRATIVE PROCEDURE ACT

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES,
20 Massachusetts Avenue, N.W.
Washington, DC 20528

and

KENNETH T. (KEN) CUCCINELLI, Acting
Director, U.S. Citizenship and Immigration
Services, in his Official Capacity,
20 Massachusetts Avenue, N.W.
Washington, DC 20528,

                     Defendants.


                               I.     NATURE OF THE ACTION

         1.       This case arises under the Immigration and Nationality Act (“INA”), 8 U.S.C.

§ 1101 et seq., and seeks this Court’s review of agency action under the Administrative Procedure

Act (“APA”), 5 U.S.C. § 701 et seq. Plaintiff, Roopali Yadav, Ph.D. (“Plaintiff” or “Dr. Yadav”),

a research scientist employed by Georgetown University, seeks judicial review of final agency

action of Defendants, U.S. Citizenship and Immigration Services (“Defendant” or “USCIS”), and

its current Acting Director, Kenneth T. (Ken) Cuccinelli (collectively, “Defendants”), taken on

August 8, 2018, denying her immigrant visa petition, Form I-140, Immigration Petition for Alien

Worker, filed on May 31, 2017 pursuant to 8 U.S.C. § 1153(b)(1)(A) (the “denial”). Her I-140

petition asked that she be classified as an individual of “extraordinary ability” in science who seeks




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to enter the United States to continue work in her area of extraordinary ability, and whose entry

into the United States will substantially benefit prospectively the United States (“EB-1A petition”).

         2.       Dr. Yadav also challenges in this action Defendants’ denial on May 7, 2019 of her

application on Defendants’ Form I-485, Application to Register Permanent Residence or Adjust

Status, which sought to adjust her nonimmigrant status from H-1B (worker in a specialty

occupation) to the status of a U.S. lawful permanent resident (“LPR”), i.e., a green card holder, a

denial which was made solely on the basis of their denial of her EB-1A petition, and involved no

exercise of agency discretion, as contemplated under the enabling legislation, 8 U.S.C. § 1255.

                                           II.    PARTIES

         3.       Plaintiff is a resident of the Falls Church, Virginia and a citizen of India. She is

lawfully employed as a Medical Scientist in H-1B (Specialty Occupation) nonimmigrant visa

status by Georgetown University.          She holds a Doctor of Philosophy (Ph.D.) degree in

Pharmacology, conferred in 2012, by Creighton University. She also holds a Master’s Degree in

Veterinary Science (with an emphasis in Veterinary Obstetrics and Gynecology), conferred in

2005 by Mathura Veterinary University of Mathura, India, and a Doctor of Veterinary Medicine

license, conferred in 2002, by G. B. Pant University, Pantnagar, India.

         4.       Plaintiff’s   scientific research studies    have   focused    on the molecular

characterization of a specific gene, the glutamate delta one receptor (“GluD1”), and its role in brain

disease and functioning in human and nonhuman subjects. Her research findings have been cited

more than 200 times since 2014 for having established critical knowledge about the important

regulatory role that the GluD1 gene plays in brain circuitry and the functioning of the brain, as

well as in the causes and treatment of such debilitating and often fatal illnesses as Alzheimer’s

disease and Parkinson’s disease. Her GluD1 research findings also offer novel insights into the

potential eradication of such mosquito-borne diseases as malaria and the Zika virus.


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         5.          Defendant USCIS is a subordinate component of the Department of Homeland

Security (“DHS”), and an “agency” within the meaning of the APA, 5 U.S.C. § 551(1). DHS

assumed responsibility from the former Immigration and Naturalization Service (“INS”) on March

1, 2003, to perform adjudicative responsibilities under the INA. The Secretary of DHS has

delegated the department’s authority to DHS’s component agency, USCIS. See DHS Delegation

Number 0150.1, II. §§ W and BB (June 5, 2003) (conferring authority under the immigration laws,

including but not limited to § 204 of the INA [8 U.S.C. § 1154], to accept and adjudicate immigrant

visa     petitions        and    other     requests    for    immigration      benefits)     accessible     at

https://www.hsdl.org/?view&did=234775 (last visited Sept. 5, 2019).

         6.          Defendant Kenneth T. (Ken) Cuccinelli is sued in his official capacity as Acting

Director of Defendant USCIS.

              III.     JURISDICTION AND WAIVER OF SOVEREIGN IMMUNITY

         7.          This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as a civil action arising

under the laws of the United States. This Court has jurisdiction to enter declaratory judgments

under 28 U.S.C. § 1361, to invalidate unlawful agency actions under 5 U.S.C. § 706, and to review

agency action arising under the INA, 8 U.S.C. § 1101 et. seq.

         8.          The United States has waived sovereign immunity under 5 U.S.C. § 702.

                                              IV.     STANDING

         9.          Plaintiff, as the self-petitioner of her EB-1A petition, has a legally protected interest

under the INA in receiving a lawful decision from Defendants on her petition, i.e., a decision which

is neither arbitrary nor capricious, nor an abuse of discretion, and which is evidence-based and

otherwise in accordance with law, as provided in 5 U.S.C. § 706(2). See Lexmark Int'l, Inc. v.

Static Control Components, Inc., 572 U.S. 118 (2014), and Matter of Kurys, 11 I&N Dec. 315

(BIA 1965) (appeal from denial of a visa petition may only be filed by the petitioner); compare


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Matter of V-S-G- Inc., USCIS Adopted Decision 2017-06 (AAO Nov. 11 2017). Plaintiff’s legal

interest has been infringed inasmuch as the unlawful denial of this petition has caused Plaintiff to

be deprived of the opportunity for which she would otherwise be eligible under law to receive an

adjustment of her status from H-1B nonimmigrant visa status to the status of a U.S LPR pursuant

to 8 U.S.C. § 1255.

         10.      Defendants’ infringement of Plaintiff’s right to a lawful decision on her EB-1A

petition has also caused her concrete and particularized injury in that as a result of this infringement

she is subject to a maximum aggregate period of authorized stay in the United States under her H-

1B visa status of no more than six years at which time she must depart the United States. With

approximately only three-and-a-half years remaining on this six-year maximum, Defendants’

denial of her EB-1A petition will foreseeably interrupt the critically important scientific research

that she is performing, and the additional research which she had outlined in detail in the business

plan included with her EB-1A petition, involving research into the molecular characterization of

the GluD1 receptor and its role in brain functioning and disease. Her business plan disclosed in

detail her intention to enter the United States to continue work in her area of extraordinary ability,

and demonstrated that her entry into the United States as a lawful permanent resident will

substantially benefit the United States prospectively.

         11.      Furthermore, by reason of Defendants’ denial of her EB-1A petition, Plaintiff’s

legal rights are infringed because she is precluded from obtaining extensions of her H-1B status

beyond an aggregate period of six years under Section 106(a) of the American Competitiveness in

the 21st Century Act of 2000, Pub. L. 106-313, 8 U.S.C. 1184(g)(4), which requires an approved

or pending immigrant visa petition.




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         12.      There is a causal connection between the injuries-in-fact that Plaintiff has suffered

and will continue to suffer and the Defendants’ challenged behavior in that it is precisely the

Defendants’ denial of her EB-1A petition which prevents her from engaging in scientific research

on a prolonged and uninterrupted basis, and from receiving critical grant funding for which she

would otherwise be eligible if and when she is granted LPR status. Furthermore, the injuries-in-

fact she has suffered could well be redressed by a favorable ruling in that such a ruling would

enable her to be accorded LPR status, and thereby support herself and lawfully remain in the

United States without the legal obligation to depart the country and interrupt her research

prematurely.

                                            V.      VENUE

         13.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(e) because

Defendants are located in the District of Columbia.

                                 VI.     FINAL AGENCY ACTION

         14.      Defendants’ denial of Dr. Yadav’s EB-1A petition constitutes final agency action

under the APA and empowers this Court to review Defendants’ decision. There is no exhaustion

requirement for her claim. APA claims are not subject to exhaustion requirements unless

specifically required by statute or regulation. See Darby v. Cisneros, 509 U.S. 137, 154 (1993)

(“[W]here the APA applies, an appeal to ‘superior agency authority’ is a prerequisite to judicial

review only when expressly required by statute or when an agency rule requires appeal before

review and the administrative action is made inoperative pending that review.”) (emphasis in

original)); CSX Transp., Inc. v. Surface Transp. Bd., 584 F.3d 1076, 1078 (D.C. Cir. 2009)

(“[A]bsent a statutory or regulatory requirement, courts have no authority to require parties to

exhaust administrative procedures before seeking judicial review.”). Nothing in the INA or agency

regulations requires that Dr. Yadav pursue an administrative appeal of a denied visa petition before


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requesting judicial review. Accord Relx, Inc. v. Baran, Case No. 19-cv-1993, 2019 U.S. Dist.

LEXIS 130286 (D. D. C., Aug. 5, 2019).

                      VII.   PROCEDURAL AND LEGAL BACKGROUND

         15.      Plaintiff’s EB-1A petition requested an immigrant visa classification for which she

is eligible under the Immigration Act of 1990, Pub. L. 101-649, 104 STAT. 4978. [S. 358]

(“IMMACT”). IMMACT introduced 8 U.S.C. § 1153(b)(1) which generally established the “First

Preference” category for “priority workers” and, specifically, Subparagraph (A) thereof, reserved

for “aliens with extraordinary ability” (“EB-1A visa category”). Plaintiff filed her EB-1A petition

requesting that Defendants comply with their duly promulgated post-IMMACT regulations,

codified at 8 CFR § 204.5(h)(3)(i)-(x), which prescribe ten categories of evidence which can be

submitted by or on behalf of a noncitizen requesting approval of an EB-1A petition in order to

satisfy the “extraordinary ability” standard. These regulations remain in effect.

         16.      In their August 8, 2018 decision denying Plaintiff’s EB-1A petition, Defendants

determined that Dr. Yadav had submitted satisfactory proof under two but not at least three of the

ten categories of evidence demonstrating extraordinary ability prescribed in Defendants’

regulations. They found by a preponderance of the evidence that she had submitted persuasive

proof of her participation as a judge of the work of others in the same or an allied field of

specialization as her own field of scientific research, and evidence that she had authored scholarly

articles in her field, in professional or major trade publications or other major media.

         17.      Given Defendants’ decision that Dr. Yadav had not submitted sufficient evidence

that she satisfied at least one more category of the ten stated in the cited regulations, Defendants

declined to conduct what it claimed – without citation to legal authority – was required for approval

of her EB-1A petition, namely, a “final merits determination.” According to Defendants, the final

merits determination is necessary in order for Defendant USCIS to confirm that Dr. Yadav has


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reached a level of expertise indicating that she is an individual of extraordinary ability in her

specialized field of research science.

         18.      Plaintiff maintains that by a preponderance of the evidence in the administrative

record of proceedings she indeed satisfied at least three of the ten regulatory categories of evidence

to establish her extraordinary ability in her field of research science, and that she is not required to

satisfy, nor are Defendants allowed to require satisfaction of, a claimed requirement of a “final

merits determination.” Nor is she required to satisfy a standard of proof which the Defendants have

apparently imposed, namely, that of proof beyond a reasonable doubt or to a moral certainty.

         19.      Plaintiff further maintains that the purported requirement of a “final merits

determination,” as applied to her, is a legislative rule not found in Defendants’ extant regulations

under the EB-1A visa category; that on a June 6, 1995 Defendant USCIS’s predecessor

immigration agency, the former Immigration and Naturalization Service (“INS”), published a

proposed (but never finalized) regulation (“the June 6, 1995 proposed rule”) which in effect would

have established authorization for a “final merits determination;” and that on December 22, 2010

Defendant USCIS issued a policy memorandum, PM-602-0005.1, “Evaluation of Evidence

Submitted with Certain Form I-140 Petitions; Revisions to the Adjudicator’s Field Manual (AFM)

Chapter 22.2, AFM Update AD11-14” (“PM-602-0005.1”), which likewise claimed authority to

impose a final-merits-determination requirement in addition to the express requirement of the

regulation at 8 CFR § 204.5(h)(3)(i)-(x) (requiring at least three-of-ten regulatorily prescribed

categories of evidence to establish extraordinary ability). A final merits determination, in the view

of Defendants as enunciated in PM-602-0005.1, thus shifts “the analysis of overall extraordinary

ability to the end of the adjudicative process when a determination on the entire petition is made.”




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         20.      This Court is called upon to determine whether Defendants actions as applied to

Plaintiff violated the APA by (A) ruling that Dr. Yadav had not satisfied at least one additional

category of acceptable “extraordinary-ability” evidence set out at 8 CFR § 204.5(h)(3)(i)-(x), and

(B) having created an ultra vires legislative rule in their adoption and implementation of a

purported requirement of a final merits determination in order to approve EB-1A petition, as

informally proclaimed, without lawful APA compliance, in the June 6, 1995 proposed rule and

PM-602-0005.1.

         21.      IMMACT amended the INA by enacting comprehensive changes to U.S.

immigration law and procedure. With respect to employment-based immigration, as explained in

IMMACT’s legislative history, Congress identified a variety of flaws in the extant legal

immigration system that urgently needed correction:

         The U.S. labor market is now faced with two problems that immigration policy can help to
         correct. . . .[One] is the need of American business for highly skilled, specially trained
         personnel to fill increasingly sophisticated jobs for which domestic personnel cannot be
         found and the need for other workers to meet specific labor shortages. . . . Because it is
         unlikely that enough U.S. workers will be trained quickly enough to meet legitimate
         employment needs, and because such needs are already not being met, the Committee is
         convinced that immigration can and should be incorporated into an overall strategy that
         promotes the creation of the type of workforce needed in an increasingly competitive global
         economy without adversely impacting on the wages and working conditions of American
         workers.

         See H.R. REP. 101-723(I), H.R. REP. 101-723, H.R. Rep. No. 723(I), 101ST Cong., 2ND
         Sess. 1990, 1990 U.S.C.C.A.N. 6710, 1990 WL 200418, p. 6721.

         22.      Lawmakers enacting IMMACT also identified other concerns:

         H.R. 4300, as amended, reflects the Committee's belief that both the preference [immigrant
         visa quota] system and the immediate relative program are in need of reform. With regard
         to the preference system, the Committee is convinced that the number of employment-
         based immigrants must be substantially increased, that the procedures governing
         their admission must be streamlined, that both temporary and permanent programs are
         needed to promote diversity of nationalities within the immigrant streams, that backlogs
         within the current family related preferences need to be reduced, and that the ceiling on the
         number of immediate relatives of lawful permanent resident aliens should be significantly
         raised.


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         Id. at pp. 6715-6716 (emphasis added).

         23.      Thus, by enacting IMMACT, Congress introduced 8 U.S.C. § 1153(b)(1) which

created the “First Preference” category for “priority workers.” Subparagraph (A) of 8 U.S.C.

§ 1153(b)(1)(A) is reserved for “aliens with extraordinary ability”. It provides:

         An alien is described in this subparagraph if--

                  (i) the alien has extraordinary ability in the sciences, arts, education, business, or
                  athletics which has been demonstrated by sustained national or international
                  acclaim and whose achievements have been recognized in the field through
                  extensive documentation,

                  (ii) the alien seeks to enter the United States to continue work in the area of
                  extraordinary ability, and

                  (iii) the alien's entry into the United States will substantially benefit prospectively
                  the United States.

         24.      Unlike all but one other employment-based immigrant visa category introduced by

IMMACT, the EB-1A visa category does not require that a U.S. employer submit a petition to

Defendant USCIS on behalf of a sponsored noncitizen or offer the individual a job (the other

immigrant visa category exempt from the employer petition and job offer requirements is the so-

called national interest waiver). Rather, because subparagraph (A) of 8 U.S.C. § 1153(b)(1)(A),

as amended by IMMACT, includes no requirement that an employer submit a job offer to an

individual of extraordinary ability, this provision permits a noncitizen, such as Dr. Yadav, to self-

petition for classification under the EB-1A visa category, as she has done. See 8 CFR § 204.5(h)(5)

(“No offer of employment required. Neither an offer for employment in the United States nor a

labor certification is required for this classification; however, the petition must be accompanied by

clear evidence that the alien is coming to the United States to continue work in the area of

expertise.”). In lieu of a job offer, Dr. Yadav submitted an extensive business plan outlining in

detail several ways she would pursue her scientific research upon attaining lawful permanent




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resident status. Her business plan, on which Defendants offered no comment, thus satisfied the

remaining statutory requirements, namely, that she seeks to enter the United States to continue

work in her area of extraordinary ability, and that her entry to pursue this work will substantially

benefit prospectively the United States.

         25.      In IMMACT’s legislative history, Congress explained its rationale for creating the

EB-1A visa category:

                  A. Employment-Based Immigration

                  The substantial increase provided for in the bill in the number of visas for
                  permanent employment will help meet current demands and reduce the backlogs
                  which have hampered employers' ability to conduct business. . . . The majority of
                  permanent immigrants will require employer attestation as to recruitment of U.S.
                  workers, wages, and working conditions, but the bill exempts certain categories
                  where in the past there has not been a demonstrated and significant labor
                  impact.

                  ...

                  (a) Extraordinary ability.-In order to qualify for admission in this category an
                  alien must (1) demonstrate sustained national or international acclaim in the
                  sciences, arts, education, business or athletics (as shown through extensive
                  documentation); (2) be coming to the United States to continue work in that area of
                  expertise; and (3) by virtue of such work benefit the United States. Documentation
                  may include publications in respected journals, media accounts of the alien's
                  contributions to his profession, and statements of recognition of exceptional
                  expertise by qualified organizations. Recognition can be through a one-time
                  achievement such as receipt of the Nobel Prize. An alien can also qualify on the
                  basis of a career of acclaimed work in the field.. . . In short, admission under this
                  category is to be reserved for that small percentage of individuals who have risen
                  to the very top of their field of endeavor.

                  See H.R. REP. 101-723(I), H.R. REP. 101-723, H.R. Rep. No. 723(I), 101ST
                  Cong., 2ND Sess. 1990, 1990 U.S.C.C.A.N. 6710, 1990 WL 200418, p. 6739.
                  (emphasis added.)

         26.      Following the enactment of IMMACT, the legacy immigration agency, INS,

published a proposed rule at 56 Fed. Reg. 30703 et seq. (July 5, 1991) (proposed rule), and final

regulations at 58 Fed. Reg. 60906 et seq. (Nov. 29, 1991) (final rule) which, inter alia, outlined




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eligibility criteria and procedures for the acceptance and adjudication of petitions seeking

immigrant visa classification under the EB-1A visa category.

         27.      Consistent with the requirement reflected in IMMACT’s legislative history that a

noncitizen of extraordinary ability establish eligibility for the EB-1A visa category through

“streamlined” “procedures” involving submission of “extensive documentation,” INS established

in its regulations eligibility criteria and a process for the review of evidence.

         28.      Accordingly, the INS regulations at 8 CFR § 204.5(h)(3)(i)-(x), which Defendant

USCIS has adopted and administers, provided at inception and still provide:

         Initial evidence A petition for an alien of extraordinary ability must be accompanied by
         evidence that the alien has sustained national or international acclaim and that his or her
         achievements have been recognized in the field of expertise. Such evidence shall include
         evidence of a one-time achievement (that is, a major, internationally recognized award), or
         at least three of the following (emphasis added):

                  (i) Documentation of the alien's receipt of lesser nationally or internationally
                  recognized prizes or awards for excellence in the field of endeavor;

                  (ii) Documentation of the alien's membership in associations in the field for which
                  classification is sought, which require outstanding achievements of their members,
                  as judged by recognized national or international experts in their disciplines or
                  fields;

                  (iii) Published material about the alien in professional or major trade publications
                  or other major media, relating to the alien's work in the field for which classification
                  is sought. Such evidence shall include the title, date, and author of the material,
                  and any necessary translation;

                  (iv) Evidence of the alien's participation, either individually or on a panel, as a
                  judge of the work of others in the same or an allied field of specialization for which
                  classification is sought;

                  (v) Evidence of the alien's original scientific, scholarly, artistic, athletic, or
                  business-related contributions of major significance in the field;

                  (vi) Evidence of the alien's authorship of scholarly articles in the field, in
                  professional or major trade publications or other major media;

                  (vii) Evidence of the display of the alien's work in the field at artistic exhibitions or
                  showcases;



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                  (viii) Evidence that the alien has performed in a leading or critical role for
                  organizations or establishments that have a distinguished reputation;

                  (ix) Evidence that the alien has commanded a high salary or other significantly high
                  remuneration for services, in relation to others in the field; or

                  (x) Evidence of commercial successes in the performing arts, as shown by box
                  office receipts or record, cassette, compact disk, or video sales.

         29.      Moreover, INS regulations at 8 CFR § 204.5(h)(4), which Defendant USCIS has

adopted and administers, provided at inception and still provide:

                  If the above standards do not readily apply to the beneficiary's occupation, the
                  petitioner may submit comparable evidence to establish the beneficiary's eligibility.

         30.      Consistently with IMMACT’s legislative history, quoted above, Defendants’

regulations at 8 CFR § 204.5(h)(2) define extraordinary ability to mean “a level of expertise

indicating that the individual is one of that small percentage who have risen to the very top of the

field of endeavor.” For unknown reasons, however, the regulations do not include the preceding

sentence from the same Congressional source (“[a]n alien can also qualify on the basis of a career

of acclaimed work in the field”), although unquestionably a career-focused recognition of

“exceptional expertise” is what IMMACT’s drafters intended.

         31.      On July 30, 1992, INS Headquarters (Adjudications) issued a memorandum

prepared by Lawrence Weinig, Acting Associate Commissioner for Examinations, to guide

subordinate officers in the interpretation of the recently-promulgated IMMACT regulations,

8 CFR § 204.5(h)(3), and its application to evidence submitted by petitioners requesting

classification for individuals of extraordinary ability.        In his memorandum (the “Weinig

Memorandum”), Mr. Weinig stated on behalf of INS Headquarters (in relevant part):

                  The evidentiary lists [at 8 CFR § 204.5(h)(3)(i)-(x)] were designed to provide for
                  easier compliance by the petitioner and easier adjudication by the [INS]
                  examiner. The documentation presented must establish that the alien is . . . an alien
                  of extraordinary ability . . . . If this is established by the meeting three of the
                  criteria for extraordinary aliens . . . , this is sufficient to establish the caliber



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                  of the alien. There is no need for further documentation on the question of the
                  caliber of the alien. However, please note that the examiner must evaluate the
                  evidence presented. This is not simply a case of counting pieces of paper. . . .

                  Generally, we maintain that a book by the alien published by a "vanity" press, a
                  footnoted reference to the alien's work without evaluation, an unevaluated listing
                  in a subject matter index, or a negative or neutral review of the alien's work would
                  be of little or no value. On the other hand, peer-reviewed presentations at
                  academic symposia or peer-reviewed articles in scholarly journals, testimony
                  from other scholars on how the alien has contributed to the academic field,
                  entries particularly a goodly number) in a citation index which cite the alien’s
                  work as authoritative in the field, or participation by the alien as a reviewer
                  for a peer-reviewed scholarly journal would more than likely be solid pieces
                  of evidence. We are also inclined to believe that thesis direction (particularly at a
                  Ph.D. thesis) would demonstrate an alien's outstanding ability as a judge of the
                  work at others. (Emphasis added.)

         32.      The evidence described and excerpted below demonstrates unequivocally that

through her research she has made original scientific contributions of major significance in the

field, and that she has performed in a leading or critical role for organizations or establishments

that have a distinguished reputation. This evidence thus establishes that it fulfills two additional

categories of eligibility for classification as a research scientist of extraordinary ability.

         33.      The June 6, 1995 proposed rule, at 60 Fed. Reg. 29771 (June 6, 1995), which

would have added requirements above and beyond the submission of at least three types of

qualitatively-acceptable evidence prescribed in 8 CFR § 204.5(h)(3)(i)-(x) in order to demonstrate

that a noncitizen is classifiable as an individual of extraordinary ability under the EB-1A visa

category. This proposed regulation, had it been promulgated in final form, would have repudiated

the Weinig Memorandum. As noted, the Weinig Memorandum instructed that submission of a

minimum of three of the ten categories of qualitatively-acceptable evidence would be “sufficient

to establish the caliber of the alien” as an individual of extraordinary ability under the EB-1A visa

category, and that there would be “no need for further documentation on [this] question.”




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         34.      In the preface to the June 6, 1995 proposed rule entitled, “Supplementary

Information,” 60 Fed. Reg. at 29775, INS stated:

                  Since the implementation of IMMACT, there has arisen some confusion over the
                  role of various types of evidence listed in 8 CFR 204.5(h)(3). The evidence listed
                  is intended to be a guideline for the petitioner and the [INS] to determine
                  extraordinary ability in order to make the adjudicative process easier for both the
                  petitioner and [INS]. The fact that an alien may meet three of the listed criteria
                  does not necessarily mean that he or she meets the standard of extraordinary ability.
                  The Service adjudicator must still determine whether the alien is one of that small
                  percentage who have risen to the very top of his or her field of endeavor.
                  Accordingly, the Service proposes to amend the regulations to state that meeting
                  three of the evidentiary standards is not dispositive of whether the beneficiary is an
                  alien of extraordinary ability.

         35.      The INS June 6, 1995 proposed rule – had it been published in final form and made

effective – would have added the following regulatory requirement:

                  If the above standards do not readily apply to the beneficiary's occupation, the
                  petitioner may submit comparable evidence to establish the beneficiary's eligibility.
                  Meeting three of the evidentiary standards listed in [redesignated] paragraph
                  (i)(3) of this section [i.e., paragraph (h)(3) before redesignation] is not
                  dispositive of whether the beneficiary is an alien of extraordinary ability. The
                  petitioner has the burden of proof to establish that he or she is an alien of
                  extraordinary ability. (Emphasis added.)

         36.      Neither INS nor Defendant USCIS ever promulgated a final regulation to require

that meeting three of the ten evidentiary standards listed in 8 CFR §204.5(h)(3) would be

insufficient to establish that a noncitizen seeking EB-1A visa classification is an individual of

extraordinary ability in his or her field of endeavor.

         37.      Consequently, the Weinig Memorandum – which determined that submission of at

least three categories of qualitatively-acceptable evidence listed in 8 CFR § 204.5(h)(3)(i)-(x) is

sufficient to designate the individual as a person of extraordinary ability under the EB-1A visa

classification and that no further documentation on that issue would be required – remained the

definitive agency interpretation until December 22, 2010 when Defendant USCIS issued a policy

memorandum, PM-602-0005.1, “Evaluation of Evidence Submitted with Certain Form I-140


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Petitions; Revisions to the Adjudicator’s Field Manual (AFM) Chapter 22.2, AFM Update AD11-

14”                        (“PM-602-0005.1”),                      accessible                       at:

https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/i-140-evidence-pm-6002-

005-1.pdf (last visited August 29, 2019).

         38.       Defendant USCIS stated in PM-602-0005.1:

                   [That this policy memorandum rescinds and supersedes all previously published
                   policy guidance issued by USCIS and the legacy Immigration and
                   Naturalization Service (INS) specific to the evaluation of required initial
                   evidence submitted in support of Form 1-140 petitions under Title 8 Code of
                   Federal Regulations (8 CFR) sections 204.5(h)(3) and (4) . . . (emphasis added;
                   footnote omitted).

         39.       Aside from purporting to rescind and supersede the INS Weinig Memorandum,

PM-602-0005.1 – a rescission which has never been the subject of APA public notice or

opportunity for comment – adopted a “two-part adjudicative approach” based upon a Ninth Circuit

Court of Appeals decision, Kazarian v. USCIS, 596 F.3d 1115 (9th Cir. 2010), to determine

extraordinary ability for purposes of the EB-1A visa category. PM-602-0005.1 has been

incorporated into the Defendants’ Adjudicator’s Field Manual at Chapter 22.2 Employment-based

Immigrant               Visa          Petitions,         Subsection          (i),            accessible

at               https://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-6330/0-0-0-

6423.html#0-0-0-417 (last visited on August 29, 2019).

         40.       The Adjudicator’s Field Manual, by its express terms, contains “policy material

[that] is binding upon all employees of USCIS, unless or until it is specifically superseded by other

policy material. . . . [and there] are no exceptions to this rule.” USCIS Adjudicator’s Field Manual

§              3.4(b)          (emphasis           in       original;           accessible           at

https://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-728/0-0-0-789.html#0-

0-0-244 (last visited on August 29, 2019).



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         41.      Under the two-part adjudicative approach required by PM-602-0005.1, Defendants

directed adjudicating officers to evaluate evidence submitted in support of petitions for aliens of

extraordinary ability in the following way:

                  (1) Determine whether the petitioner or self-petitioner has submitted the required
                  evidence that meets the parameters for each type of evidence listed at 8 CFR
                  204.5(h)(3); and

                  (2) Determine whether the evidence submitted is sufficient to demonstrate that the
                  beneficiary or self-petitioner meets the required high level of expertise for the
                  extraordinary ability immigrant classification during a final merits determination.

         42.      In addition, PM-602-0005.1, at p. 3, Defendants purported to adopt this “two-part

adjudicative approach to evaluating evidence described in Kazarian[,]” in reliance upon the claim

that it “simplifies the adjudicative process by eliminating piecemeal consideration of extraordinary

ability.”

         43.      Defendants’ justification, however, does not address IMMACT’s legislative history

of the EB-1A calling for “streamlined” procedures to review the “extensive documentation” which

Congress anticipated would be required to qualify as a person of extraordinary ability. It likewise

does not acknowledge IMMACT’s legislative history which made clear that “[a]n alien can also

qualify on the basis of a career of acclaimed work in the field.” Nor does PM-602-0005.1 explain

how opting for a two-step adjudicative procedure is simpler than reviewing in a single-step

whether the evidence accompanying the EB-1A petition taken as a whole satisfies at least three of

the ten criteria of 8 CFR § 204.5(h)(3)(i)-(x). PM-602-0005.1 is thus more complicated than the

Weinig Memorandum which recognized that these regulations “were designed to provide for easier

compliance by the petitioner and easier adjudication by the examiner.”

         44.      As the “extensive documentation” in the Administrative Record of Proceedings

established, and as explained below, Plaintiff’s research in fact reflects her sustained national and




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international acclaim in brain science and the role that the GluD1 gene plays in brain circuitry and

the functioning of the brain, as well as her “career of acclaimed work in the field.”

          45.     Federal agencies must comply with the APA when crafting and enforcing

regulations and legislative rules. 5 U.S.C. § 553.

          46.     Courts have authority to review and invalidate final agency actions that are not in

accordance with the law, lack substantial evidence, or are arbitrary and capricious. 5 U.S.C. § 706.

          47.     In reviewing Federal agency rules and actions, courts first determine if the agency

had statutory authorization to create rules that carry the force and effect of law. United States v.

Mead Corp., 533 U.S. 218, 226-227 (2001). Plaintiff acknowledges that Defendant USCIS has

statutory authorization to create rules in compliance with the APA that carry the force and effect

of law.

          48.     Agency rules fall into four categories: interpretive; general statements of policy;

agency organization and internal procedure; and, legislative. 5 U.S.C. § 553; Mendoza v. Perez,

754 F.3d 1002, 1021 (D.C. Cir. 2014).

          49.     Agency rules are legislative if “the agency action binds private parties or the agency

itself with the ‘force of law,’” GE v. EPA, 290 F.3d 377, 382 (D.C. Cir. 2002) (internal quotation

marks omitted), and “an agency pronouncement will be considered binding as a practical matter if

it either appears on its face to be binding . . . or is applied by the agency in a way that indicates it

is binding.” Id. at 383. A legislative rule “does more than simply clarify or explain a regulatory

term, or confirm a regulatory requirement, or maintain a consistent agency policy. . . A rule is

legislative if it supplements a statute, adopts a new position inconsistent with existing regulations,

or otherwise effects a substantive change in existing law or policy.” Chrysler Corp. v. Brown, 441

U.S. 281, 302 (1979); Mendoza, 754 F.3d at 1021.




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         50.      Agency rules based on broad statutory language that create specific responsibilities

are legislative rules. Mendoza, 754 F.3d at 1022 (Department of Labor regulations creating

evidentiary requirements for U.S. employers were legislative because the broad and general nature

of the statutory text anticipated notice and comment rulemaking).

         51.      Agency rules that require the regulated community to alter behavior in order to

receive a government benefit are legislative and not procedural rules. Id. at 1024 (rule demanding

a minimum wage set a mandatory standard for applicants).

         52.      Agency rules that bind or create mandatory requirements are legislative rules,

requiring notice and comment rulemaking. See Elec. Privacy Info. Ctr. v. US Dept. of Homeland

Security, 653 F.3d 1, 6 (D.C. Cir. 2011) (binding and mandatory screening requirements at airports

were legislative and not interpretive rules).

         53.      USCIS policies denominated as agency policy and incorporated into the

Adjudicator’s Field Manual constitute legislative rules which are unlawful if not promulgated in

compliance with the APA’s notice-and-comment requirements. See Guilford College et al v.

McAleenan et al., Case 1:18-cv-00891, 2019 U.S. Dist. LEXIS 74991 (M.D.N.C. May 3, 2019)

(USCIS preliminarily enjoined from implementing policy manual changing unlawful presence

interpretations for foreign students where change in policy was an unlawful legislative rule under

the APA).

         54.      Defendant USCIS’s interpretation of 8 CFR § 204.5(h) in PM-602-0005.1 is not

deserving of judicial deference, and should be rejected as an unlawfully adopted legislative rule in

violation of the APA. Agencies are not automatically afforded judicial deference to interpretations

of their own regulations. So-called Auer/Seminole Rock deference to an agency’s interpretation of

its own regulations will only apply in limited circumstances. See Kisor v. Wilkie, 139 S. Ct. 2400,




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204 L. Ed. 2d 841 (2019). Courts will apply traditional tools of interpretation to determine whether

a challenged regulation is genuinely ambiguous, and even then, courts will defer to the agency

view only after considering a variety of factors, including whether the agency interpretation (a) is

well considered, (b) the interpretation has been consistently maintained, and (c) “creates unfair

surprise to regulated parties.” Kisor, 139 S. Ct. at 2418.

         55.      Defendants’ regulations at 8 CFR § 204.5(h) are not ambiguous. They prescribe

that three categories out of a possible ten types of qualitatively-acceptable evidence are sufficient

to demonstrate extraordinary ability in a field of endeavor. Although the regulatory definition of

extraordinary ability is incomplete based on the legislative history (omitting Congressional

recognition of eligibility “on the basis of a career of acclaimed work in the field”), what remains

is clear. Nothing in the regulations supports the newfound agency inference that requires a final-

stage merits determination.

         56.      Even if ambiguity were somehow perceived, Defendants’ interpretation in PM-602-

0005.1 is not well considered; indeed, it is illogical in suggesting that a two-stage adjudicative

process, involving two bites at the same apple, is simpler than one that involves a single act of

qualitatively considering whether three of ten types of evidence have been submitted. Moreover,

as confirmed by the abrupt about-face from Defendants’ original interpretation of extraordinary

ability in the INS Weinig Memorandum, PM-602-0005.1 reflects an inconsistent approach to

eligibility and creates unfair surprise to self-petitioners such as Dr. Yadav.

         57.      Furthermore, judicial deference is likewise inappropriate in situations where

agencies do not explain the statutory basis or rationale for rules and regulations.          Encino

Motorcars, LLC v. Navarro, 136 S.Ct. 2117, 2126 (2016) (“When an agency has failed to provide




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even that minimal level of analysis, its action is arbitrary and capricious and so cannot carry the

force of law”).

         58.      Moreover, when a statute, such as 8 U.S.C. § 1255, confers the discretionary

authority to adjust the status of a foreign citizen from a nonimmigrant visa category to that of a

lawful permanent resident, and the agency denies the adjustment application perfunctorily, without

exercising its discretion, the failure to exercise discretion is itself an arbitrary and capricious abuse

of discretion subject to judicial reversal under the APA.

                                VIII. STATEMENT OF CLAIM

         59.      On May 31, 2017, Defendant USCIS received Plaintiff’s duly executed Form I-140

petition, and Form I-485 application, enclosing the required filing fees in the proper amount

together with extensive documentary evidence of eligibility. The I-140 petition requested that she

be recognized as an individual of extraordinary ability in science under the EB-1A visa category

whose intention to work in her field of extraordinary ability would substantially benefit the United

States prospectively. The I-485 application requested that she be granted adjustment of status from

the nonimmigrant H-1B visa category to that of a lawful U.S. permanent resident.

         60.      On April 27, 2018, Defendant USCIS issued a Request for Additional Evidence

(“RFE”) to which Plaintiff responded with a submission that contained extensive supplemental

evidence of her extraordinary ability and accompanying legal argument.

         61.      On August 8, 2018, Defendants denied Dr. Yadav’s EB-1A visa petition, and on

May 7, 2019, they denied her application for adjustment of status based solely upon the denial of

her EB-1A visa petition (“Notice of Denial” or “Denial”).

         62.      Defendants’ Denial of the EB-1A visa petition included their acknowledgement

that the evidence she submitted satisfied two of the minimum three out of a possible ten categories

of evidence listed at 8 CFR § 204.5(h)(3)(i)-(x). The categories of proven satisfactory evidence


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pertained to Plaintiff’s authorship of scholarly articles in her field in professional publications, 8

CFR § 204.5(h)(3)(iii), and her participation as a judge of the work of others in the field, 8 CFR §

204.5(h)(3)(iv).

          63.     Defendants’ Notice of Denial maintained, however, that the evidence she submitted

did not establish her original scientific contributions of major significance in the field, 8 CFR §

204.5(h)(3)(v), her performance in a leading or critical role for organizations or establishments

that have a distinguished reputation, 8 CFR § 204.5(h)(3)(viii), or any of the other evidentiary

categories listed in 8 CFR § 204.5(h)(3)(i)-(x). Their denial also expressly espoused but declined

to apply the purported requirement of a final merits determination, apparently in reliance upon (but

without citing) PM-602-0005.1. Moreover, Defendants’ Denial ignored and did not address

abundant evidence contained in an extensive business plan which confirmed that she would

continue her scientific research in ways that would substantially benefit the United States in the

future.

          64.     Defendants’ Denial of Plaintiff’s EB-1A petition, and their later non-discretionary

denial of her application for adjustment of status, were not in accordance with relevant law, lacked

substantial evidence, and were arbitrary and capricious under the APA, 5 U.S.C. § 706. Their

Denial of her EB-1A visa petition articulated novel and unannounced regulatory requirements that

were never the subject of final APA notice-and-comment rulemaking and created “unfair surprise”

for Plaintiff.

          65.     Defendants’ Denial of Plaintiff’s EB-1A visa petition reflected an arbitrary and

capricious disregard and mischaracterization of evidence that she submitted with her original

petition and in the response to the Defendants’ RFE.




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         66.      Defendant USCIS’s Notice of Denial determined that the “record is lacking

documentation of major utilization, independent discussion in major media or professional

journals illustrating the contribution's major significance, or independent documentation that the

field has deemed Dr. Yadav's work major in significance.” (Notice of Denial, Page 4.) Despite

this assertion, USCIS seemingly overlooked or ignored substantial evidence submitted in both the

original petition and the response to its RFE. Relevant expert opinions from the record include

the following statements:

                 A.      Dr. Daniel T. S. Pak, Professor in the Department of Pharmacology and
         Physiology at Georgetown University, who describes Dr. Yadav as “an extraordinarily able
         researcher whose already manifest and manifold contributions to basic scientific research
         cannot be questioned,” writes: “Dr. Yadav was the first in the world to discover that the
         Delta One glutamate receptor, which was previously believed to be a so-called “orphan”
         receptor with no specific purpose, can play an essential role in treating neuropsychiatric
         disorders. This discovery is a “game-changer”; it is revolutionary. Dr. Yadav’s
         research findings brought the global scientific community a new and unique understanding
         of this receptor and present new and wide-ranging possibilities due to the fact that
         glutamate receptors play a critical role in the treatment of mental illness, addiction, cardiac
         failure, autism, schizophrenia, depression, and PTSD in humans and in the development
         of mosquitocides. … Dr. Yadav’s discoveries and research on ionotropic glutamate
         receptors have significantly influenced researchers across the globe, not limited to the labs
         which have been fortunate enough to see her work directly.” (Response to RFE, Exhibit
         7.)

                  B.     Dr. Shashank Dravid, Associate Professor in the Department of
         Pharmacology at Creighton University, explains: “Until Dr. Yadav delved into the studies
         of GluD1, its role in brain disease was not well understood. Dr. Yadav's original research
         brought to light the functions of GluD1. The originality of her findings is further reinforced
         by the fact that her identification of an important function of GluD1, combined with the
         subsequent successful and significant studies on this receptor, identified D-Cycloserine as
         a drug to cure and reverse aberrant mental illness symptoms in the GluD1 knock out mouse.
         The findings from her research have moved the field forward. Her studies established
         critical knowledge about the important regulatory role that GluD1 plays in brain circuitry
         and the normal functioning of the brain. These findings are of utmost significance, to the
         delta one research field. . . . Dr. Yadav was the first person in the world to present this
         novel, original, and path breaking set of results that have made the field move forward.”
         (Response to RFE, Exhibit 10.)

                 C.      Dr. Dravid continues: “Dr. Yadav’s original contributions hold major
         significance in the scientific community. It is possible the application of her findings may
         lead to cures for Alzheimer’s, schizophrenia, depression, and even autism. Her findings


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         are original, and I am of the opinion that her work is of major significance. … The research
         that Dr. Yadav conducted in my laboratory was pioneering … cutting edge and
         critical.” (Response to RFE, Exhibit 10.)

                 D.      Dr. Margaret Scofield, Associate Professor Emerita in the Department of
         Pharmacology at Creighton University, states: “Original basic science research findings of
         such major significance as Dr. Roopali’s (relating to the delta one glutamate receptor) are
         rare; her findings were original and have broad application for applied researchers. . . . Dr.
         Yadav has experienced . . . rare success; her original research findings serve as a
         foundation – a map – for applied researchers to follow.” (Response to RFE, Exhibit 9.)

                 E.       Dr. Scofield further confirms: “Dr. Yadav was the first in the world to
         completely characterize the molecular, electrophysiological and phenotypical aspects of
         the glutamate delta one receptor. … Because she was first in the world to recognize the
         critical role of the delta one receptor, it is clear that her work is original. … Dr. Yadav's
         contributions to the field are also of major significance. Her results were unexpected,
         have broad application, and have forever altered the glutamate field. Dr. Yadav's original
         research has been cited by leading research groups worldwide as they use her discoveries
         to further their research. The fact that well-respected researchers across the globe are
         leveraging Dr. Yadav's discoveries to further science demonstrates that her work on the
         delta one receptor holds major international significance. (Response to RFE, Exhibit 9.)

                 F.       Dr. Kasper Hansen, Assistant Professor in the Department of Biomedical &
         Pharmaceutical Sciences at the University of Montana, states: “Dr. Yadav is a highly skilled
         research scientist whose work has been internationally recognized as outstanding and
         innovative. She has consistently demonstrated her extraordinary abilities in neuroscience,
         particularly in areas of intense interest, including the ionotropic glutamate delta one receptor.
         … Dr. Yadav has proven to be an outstanding researcher and has advanced our
         understanding of the behavioral phenotypes that result from knocking out the glutamate
         delta-1 receptor gene in mouse models. She published the first electrophysiological
         characterization of the glutamate delta-1 receptor in Brain Research, a prestigious journal.
         … Dr. Yadav provided the first report in the world characterizing the putative ion channel
         function of the orphan glutamate delta-1 receptor. … Overall, the complexity and
         extensiveness of the research Dr. Yadav has conducted is extraordinary.” (Response to
         RFE, Exhibit 11.)

                  G.      Dr. Hansen continues: “Reviewing the science that has grown from Dr.
         Yadav's discoveries helps us to clearly see how Dr. Yadav's basic ("pure" or
         ''fundamental") research is leading to practical, applied outcomes. Her published results
         and the citations thereto are proof that her research is of major significance, impactful, and
         original, not only in the United States, but also globally. Dr. Yadav's research discoveries
         in this field are the first of their kind and have paved the path for scientists across the globe
         to explore possible treatments for mental illnesses that were previously thought to be
         untreatable. .... The research findings from Dr. Yadav's studies on delta-1 were recognized
         as breakthrough research in our field and have served as a basis for further studies on these
         topics.” (Response to RFE, Exhibit 11.)




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                 H.      Dr. Bertrand Lambolez, Research Director at the National Institute for
         Health and Medical Research (INSERM) France, offers the following expert opinion: “Dr.
         Yadav is internationally recognized for her significant original contributions to research on
         drug discovery and neuropsychiatric disorders. Her extraordinary electrophysiological
         research is of international significance. … Dr. Yadav's original landmark findings have
         suggested substantial implications for the development of therapeutic strategies for
         neuropsychiatric disorders such as autism and schizophrenia. … Dr. Yadav was the
         world's first researcher to characterize the Glutamate delta 1 knock out mouse. …
         Dr. Yadav was the first scientist to publish the research finding that the glutamate
         delta-1 receptor is strongly associated with neuropsychiatric disorders such as
         schizophrenia, bipolar disorder, autism spectrum disorders, and major depressive
         disorder. [] Dr. Yadav's unique findings have paved the way for scientists across the globe
         to research practical clinical applications targeting the delta-1.” (Response to RFE, Exhibit
         14.)

                I.      Dr. Lambolez further confirms: “This is to emphasize that Dr. Yadav's
         discoveries are of major significance, even if their full effects have not yet been
         realized. With her single revolutionary discovery, she has advanced science in a
         number of life-changing areas, giving hope to the previously hopeless for a possible
         cure. …Very few of today's researchers possess a background as Dr.Yadav possesses.
         Given her cross-disciplinary focus, Dr. Yadav is regarded as justifiably standing among
         the world's most advanced and original researchers in the Glutamate delta 1 receptor.
         Her research leads the way in suggesting the discovery of innovative treatments for
         neuropsychiatric disorders and the development of novel mosquitocides in which the
         glutamate delta one receptor is involved..” (Response to RFE, Exhibit 14.)

                  J.      Dr. Zhengyu Cao, Professor and Vice Chair of the Department of Complex
         Traditional Chinese Medicine at China Pharmaceutical University, confirms: “Dr. Yadav
         has armed the glutamate receptor field with an original, novel, important, and unexpected
         set of results that have dramatically changed our understanding of the ionotropic glutamate
         delta one receptor. … her work is of worldwide importance and has advanced science
         extraordinarily in this research area.” (Response to RFE, Exhibit 13.)

                 K.       Dr. Cao further confirms: “[H]er work in characterizing the structure and
         function of the glutamate delta one receptor was groundbreaking. Dr. Yadav showed
         through her original research the structural properties of the delta one receptor; she
         discovered an agonist that activated the (until them orphan) delta one receptor. These
         discoveries are original works of science and of utmost significance in the scientific
         field. Dr. Yadav’s discovery of D-Serine as the agonist for delta one holds tremendous
         significance; leveraging Dr. Yadav’s findings, the glutamate field has been enabled to
         move forward at rapid speed. . . . Based on Dr. Yadav’s research, D-cycloserine is in
         clinical trials for post-traumatic stress disorder.” (Response to RFE, Exhibit 13.)

         67.      Defendant USCIS’s Notice of Denial acknowledged that Dr. Yadav’s publications

are “highly cited for their years” but states that petitioner failed to “demonstrate how these numbers




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are indicative of contributions of major significance in the field.” The agency observes that “[t]he

evidence also includes journal metrics” but states that it “will not presume that every article that

appears in a well-ranked journal has major significance.” Defendant USCIS further noted that

“[a]rticles that cited the petitioner's work were presented, as well as a list of her articles and their

citations from Google Scholar. Her publications had garnered approximately 170 citations when

the petition was filed. However, while some are highly cited for their years, the data do not

demonstrate how these numbers are indicative of contributions of major significance in the field.”

(Notice of Denial, Page 4.)

         68.      Defendants again overlook the evidence presented. Dr. Yadav’s publications,

given the rankings of the journals and the citations to her work, clearly demonstrate that Dr.

Yadav’s work is of “major significance.” Relevant expert opinions from the record follow:

                 A.    At the time that Plaintiff responded to USCIS’s RFE, the count of citations
         of Dr. Yadav’s work had climbed to 207. (Response to RFE, Exhibit 5.)

                B.      The citations themselves demonstrate recognition of Dr. Yadav's work and
         serve as proof that her contributions are of major significance. Dr. Scofield explains the
         importance of Dr. Yadav’s citation history:

                  The government's request also indicates that Dr. Yadav's citation level does not
                  illustrate that her work has been considered of major significance. Again, this
                  statement surprises me, as Dr. Yadav's citation history is enviable. Dr. Yadav's
                  work has been cited 207 times (181 times since 2013). As noted in the attached
                  Google Scholar profile and journal metrics, her work has been published in high-
                  ranking journals and has been cited an extraordinary number of times. (Response
                  to RFE, Exhibit 9.)

                C.      Dr. Scofield also explains why the citations are indicative of contributions
         of major significance in the field by comparing the citations garnered by Dr. Yadav’s
         publications compare to the citations that other articles in the same journals have received:

                  Dr. Yadav's 2010 article in the Journal of Neuroscience has been cited 82 times.
                  As noted in the attached journal metrics, articles published in this journal in 2010
                  have been cited, on average 8.12 times. Dr. Yadav's article has been cited more
                  than eight times as often as the average Journal of Neuroscience article. This is
                  particularly notable given that the Journal of Neuroscience ranks as the #11 (of 154)
                  neuroscience journal in the world.” Dr. Scofield also affirms that Dr. Yadav’s



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                  article in PloS one (2012) has been cited 60 times (12 times as often as the average
                  PloS one article); her article in PloS one (2013) has been cited 27 times (6 times as
                  often as the average PloS one article); and her Brain Research article has been cited
                  13 times (more than 4 times as often as the average Brain Research article.
                  (Response to RFE, Exhibit 9.)

                D.     Dr. Dustin J. Stairs, Professor in the Department of Psychological Science
         at Creighton University comments upon Defendants’ statement that “… we cannot
         determine that the citations illustrate more than the mere iterative nature of scientific
         research.” He writes:

                  This to me indicates the officer may lack a fundamental understanding of how the
                  scientific field works. Citations of our work is not "mere iterative", as a scientist
                  you only cite work that you have read and influenced your thinking you don't
                  randomly cite papers just because or for repetition purposes. When we write a
                  paper, it is not appropriate to go into detail about the great work Dr. Yadav does
                  and how it influenced your thoughts and experiments, you give them credit by
                  citing their work, that is what we do. []If U.S. Citizenship and Immigration
                  Services is expecting to see grandiose statements in papers about the work of any
                  scientist and how meaningful they are, then the agency is tilting at windmills.
                  (Response to RFE, Exhibit 8.)

                 E.     Dr. Zhengyu Cao, Professor and Vice Chair of the Department of Complex
         Traditional Chinese Medicine at China Pharmaceutical University, writes:

                  Dr. Yadav is well-known and well-respected globally as a top researcher in the
                  neuroscience field, particularly with regards to the ionotropic glutamate delta
                  one receptor. … Dr. Yadav’s work was cited in the world’s most cited scientific
                  journal, Nature. A research group built its research findings on Dr. Yadav’s
                  original findings, resulting in additional avenues for the treatment of Autism. …
                  These citations demonstrate Dr. Yadav’s international acclaim and the major
                  significance of her extraordinary and original findings, which continue to
                  advance science and lead to therapies for mental disorders that were
                  previously believed untreatable. (Response to RFE, Exhibit 13.)

                F.     Dr. Kasper Hansen, Assistant Professor in the Department of Biomedical &
         Pharmaceutical Sciences at the University of Montana, provided a letter attesting to a
         number of significant outcomes from Dr. Yadav’s work, listing key groups that have cited
         Dr. Yadav:

                  The results from her research have aided the research community by providing
                  invaluable tools that are being employed by numerous top researchers, as evidenced
                  by the fact that they are citing her work and using her original and significant
                  findings to build their own research. This is evident from the numerous citations
                  she holds in top-tier, peer-reviewed research journals.” He provides a number of
                  examples: “Dr. Yadav's original research has been cited in book chapters, in
                  reviews, as well as in prominent research papers. In their book chapter, Wataru



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                  Kakegawa and Michisuke Yuzaki … rely on Dr. Yadav's research to further
                  advance the delta-1 research field. … Leading research groups based in Europe
                  collaborated on a project and cited Dr. Yadav's research in Molecular
                  Psychiatry. Different research teams coming together and citing a particular
                  scientist's work is rare; typically, labs work independently. The fact that these
                  well-known groups cited Dr. Yadav's research has helped to establish Dr.
                  Yadav's reputation as a top researcher internationally...” (Response to RFE,
                  Exhibit 11.)

                  G.     Dr. Hansen further confirms that:

                  [Dr. Yadav's] research has been leveraged by top researchers across the globe,”
                  including Aki Takahashi and Klaus A. Miczek in Neuroscience of Aggression and
                  researchers from the prestigious Danders lnstitute for Brain, Cognition and
                  Behaviour in Molecular Psychiatry, “with an impact factor of 13.204 (ranked 4th
                  among 142 journals in the field of Psychiatry).” (Response to RFE, Exhibit 11.)

                 H.      Dr. Hansen explains Dr. Yadav’s citations and the importance they hold,
         particularly in her field:

                  Her findings have been cited and used by top researchers worldwide to guide their
                  own research. This is exemplified by her work being cited in the topmost tier
                  scientific journal Nature. This speaks of the originality of Dr. Yadav's research and
                  its major significance in the research field. Further, the very fact that Dr. Yadav's
                  research has been cited by a leading research group who published in Nature and
                  conduct research at Ivy League research institutes such as Harvard Medical School
                  at Boston, Beth Israel Deaconess Medical Center at Boston Hospital Intellectual,
                  and Development Disabilities Research Center establishes her as an internationally
                  renowned scientist of the highest caliber. (Response to RFE, Exhibit 11.)

               I.     Finally, Dr. Hansen describes the importance of the speed at which Dr.
         Yadav’s work has been recognized:

                  Moreover, the rate at which Dr. Yadav's citations of her work have been growing
                  is rapid indicative of the fact that Dr. Yadav's research is of major significance. In
                  the past 10 months, Dr. Yadav's work has been cited in 32 journals. This speaks
                  very highly of the reputation of the research that Dr. Yadav has conducted. I want
                  to emphasize that the number of citations a publication will garner is dependent on
                  the area of research. The field of glutamate delta receptors is narrow; there are only
                  a handful of dedicated experts in this field. Thus, to attract even a few citations in
                  this area is impressive (whereas, in a broad field such as cancer research, one might
                  only be impressed by hundreds of citations). The rate at which Dr. Yadav's citation
                  numbers are growing is an indicator of the major significance of her research.
                  Specifically in the glutamate delta receptor field, gaining 32 citations in 10 months
                  is remarkable.” (Response to RFE, Exhibit 11.)




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                J.    Dr. Bertrand Lambolez, Research Director at the National Institute for
         Health and Medical Research (INSERM) France, states:

                  I cited Dr. Yadav's original research results of major significance in my published
                  research in highly prestigious research journals which accept only the top most
                  original research. Attesting to the significance of her scientific findings, I cited
                  three of her publications in one of my own published articles. … The fact that Dr.
                  Yadav's research findings are of major significance to the worldwide research
                  community is demonstrated by the fact that her findings have been cited time and
                  again by leading research groups (including mine); her work has been cited in
                  prestigious research journals such as Nature, Nature Neuroscience, Molecular
                  Psychiatry, and PNAS to name a few. (Response to RFE, Exhibit 14.)

                  K.     Dr. Shashank Dravid, Associate Professor in the Department of
         Pharmacology at Creighton University, outlines a selection of research that scientists have
         accomplished by building upon Dr. Yadav’s findings, including his own work, published
         in his book chapter in Neuroscience and Biobehavioral Psychology; scientists at the MIND
         Institute at the University of California Davis; scientists who cited Dr. Yadav in Nature
         Neuroscience; “Dr. Donald Goff, an internationally reputed clinician researcher”; “Yuzaki
         and Arisceu, in their 2017 journal publication in Trends in Neurosciences (a prestigious
         journal with an impact factor of 17.755)”; the “prestigious research group (Benamer et al.),
         in their extraordinary 2018 publication in Molecular Psychiatry (impact factor: 13.2014)”,
         who “cite three of Dr. Yadav’s research papers in their study of large scale brain circuit
         dysfunctions”; Dr. Zhou’s team in Progress in Neuro-Psychopharmacology and Biological
         Psychiatry; and scientists that published in “Nature, the most prestigious scientific journal
         in the world, with one of the highest impact factors of 40.137.” (Response to RFE, Exhibit
         10.)

         69.      Defendant USCIS’s Notice of Denial USCIS determined that the Plaintiff “failed

to establish eligibility” through evidence “that the alien has performed in a leading or critical role

for organizations or establishments that have a distinguished reputation.” (Notice of Denial, pp.

3-4.) Defendant USCIS further claimed that “[t]he evidence does not establish that the petitioner

held a leading role for these labs or organizations, nor does it establish that her role as a student,

post-doctoral research associate or researcher was leading or critical for a distinguished

establishment or organization as a whole.” (Notice of Denial, p. 5.)

         70.      Defendant USCIS disregards letters submitted by Dr. Yadav from writers who did

not employ her (such as the letters from Dr. Elbadry and Dr. Scofield), stating “employment letters

must come from employers” (regarding Dr. Elbadry’s letter) and “the letter was not from an



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employer (in regards to the letter from Dr. Scofield). In opting not to consider these letters as

evidence, USCIS cites a general regulation governing all employment-based immigrant visa

categories, 8 CFR § 204.5(g)(1), describing letters attesting to qualifying experience or training

which must “be in the form of letter(s) from current or former employer(s).” (Notice of Denial,

Page 5.)

         71.      Defendant USCIS has failed to acknowledge, however, that the letters were not

submitted as evidence of experience or training but rather as evidence of Dr. Yadav’s critical role

for organizations with distinguished reputations. Moreover, even for a petitioner seeking to prove

that the noncitizen in question possesses the required training or experience to qualify for the job,

the regulation states that if “such evidence is unavailable, other documentation relating to the

alien’s experience or training will be considered.” 8 CFR § 204.5(g)(1).

         72.      If Defendant USCIS had correctly interpreted the regulations, it would have found

that 8 CFR § 204.5(h)(3) speaks to acceptable evidence for petitions for classification as an alien

of extraordinary ability and places no limitation on the types of evidence that might be acceptable

to prove that the alien “had performed in a leading or critical role for organizations or

establishments that have a distinguished reputation.”

         73.      USCIS articulated no legitimate basis to disregard the letters from Dr. Elbadry and

Dr. Scofield or from any of the other experts whose letters attested to Dr. Yadav’s extraordinary

ability as a GluD1 gene research scientist. See Matter of Skirball Cultural Center, 25 I&N Dec.

799, 805-806 (AAO 2012) (where USCIS adjudicator did not question the credentials of the

experts, take issue with their knowledge of the [beneficiary], or otherwise find reason to doubt the

veracity of their testimony, such uncontroverted testimony was held to be reliable, relevant, and

probative as to the specific facts in issue).




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         74.      The Notice of Denial states:

         “The letter from Dr. Scofield, Associate Professor at Creighton University School
         of Medicine, states that Dr. Yadav's work at the Emerging Pathogens Institute at
         the University of Florida as a researcher proved critical in advancing science
         relating to mosquitocides and she left a lasting legacy at EPI and her research. It
         allowed EPI to carry out work funded by the Gates Foundation Grant and advanced
         science relating to two of the 14 listed research areas in EPI's brochure. It is noted
         that Dr. Scofield's C.V. numbers the petitioner among tens of student and
         committee advisees. The letter did not distinguish her work from the many
         scientists who also worked on the two of the 14 research areas listed in EPI's
         brochure in a manner to evidence a critical role. The letter also was not from an
         employer.” (Notice of Denial, Page 5.)

         75.      As explained above, this letter should not have been disregarded notwithstanding

that its author has not been Dr. Yadav’s employer. Further, the letter, contrary to Defendant

USCIS’s contention, uses phrases of comparative analysis throughout:

         Dr. Yadav has risen to the very top of her field and has received international acclaim for
         her groundbreaking glutamate work. … Her research work rivals that of the top scientists
         in the U.S. and in the world. Dr. Yadav belongs to that elite group of researchers whom
         we should strive to retain in our nation. … on a research project on the ionotropic glutamate
         delta one receptor; she was the leading scientist on the project. (Response to RFE, Exhibit
         9.)

         76.      Dr. Scofield continues by providing evidence of Dr. Yadav’s critical role at EPI

and of EPI’s reputation:

         The world'[s] top researchers converge to conduct research at EPI. It is clearly an
         organization with a distinguished reputation. Thus, it is not surprising that Dr. Yadav was
         selected for a postdoctoral position here based on her merit and reputation as an
         extraordinary researcher. Her role at EPI proved critical in advancing science relating to
         mosquitocides, and she left a lasting legacy at EPI. … Her role at EPI was critical, as it
         allowed EPI to carry out the work for which it received the Gates Foundation Grant, the
         first such grant awarded to the University of Florida. She also provided critical research
         advancing science relating to two of the 14 listed research areas in EPI’s … brochure
         (malaria and Zika). (Response to RFE, Exhibit 9.)

         77.      Dr. Scofield further describes Dr. Yadav’s critical role at Georgetown, highlighting

its distinguished reputation:

         Georgetown University is one of the world's leading academic and research institutions,
         and the paklab where Dr. Yadav works is known nationally and internationally as the



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         leading lab in the world conducting research on synaptic plasticity and Alzheimer’s
         disease. Dr. Yadav serves as a team leader, a critical leadership role in the paklab, where
         she trains researchers and is responsible for securing continued funding for the lab (to the
         tune of nearly $2 million) (Response to RFE, Exhibit 9.)

         78.      As noted above, USCIS incorrectly disregarded altogether the letter from Dr. Maha

Elbadry, Researcher and Scientist at the Emerging Pathogens Institute (EPI) because of its author’s

status as a colleague, rather than an employer, of Dr. Yadav. This letter describes the distinguished

reputation of the EPI and Dr. Yadav’s critical role within the organization:

         The Emerging Pathogens Institute is a leading interdisciplinary research institute that
         enjoys well-earned world prominence. The top and best researchers from across the globe
         converge here to conduct research. Dr. Yadav, based on her extraordinary research
         accomplishments, was invited to conduct research here. The Emerging Pathogens Institute
         is known internationally for its interdisciplinary research, including Dr. Yadav’s research
         on mosquitoes and mosquitocide development. … The EPI was created to study emerging
         and re-emerging pathogens considered a threat to the State of Florida. The concept quickly
         garnered university support, and funding from the State of Florida Legislature, which
         appropriated $55 million to construct the EPI Building. Currently, EPI has over 200
         affiliated faculty members, from 10 colleges, who are Institute members; collaborative
         research activities are underway in 34 countries. All these accomplishments prove that the
         Emerging Pathogens institute is a distinguished organization affiliated with a distinguished
         university. … The University of Florida, of which the EPI is a part, is one of sixty-two
         elected member institutions of the Association of American Universities (AAU), the
         association of preeminent North American research universities. For 2018, U.S. News &
         World Report ranked Florida as the ninth (tied) best public university in the United States.

         ...

         Her role at the EPI was essential and critical to the organization’s research as a whole, as
         she moved research forward, giving the entire organization a new focus and renewed hope.
         Her research prowess in both mosquito and human glutamate receptors was a major, game-
         changing contribution that has proven instrumental to the success of the research program
         here at the EPI. … Mosquito tolerance to mosquitocides is a grave problem, and Dr.
         Yadav’s research in this area has provided the EPI the foundation and tools needed to cure
         for this evergreen problem of mosquito resistance. Her extraordinary and unique work is
         leveraged by researchers at the EPI on a daily basis. … Dr. Yadav played a critical role at
         the EPI; the extraordinary, novel, and pioneering research she conducted were pivotal.
         (Response to RFE, Exhibit 15.)




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         79.      Defendant USCIS’s Notice of Denial in its description of the letter from Dr. Daniel

T. S. Pak, Professor in the Department of Pharmacology and Physiology at Georgetown

University, mischaracterizes Dr. Pak’s expert opinion:

         The petitioner provided a letter from her supervisor, Dr. Pak at Georgetown University
         Medical Center. He states that Dr. Yadav is among a pool of researchers that helps the
         organization receive grant funding. However, the letter does not distinguish the critical
         nature of her role compared to others at Georgetown University Medical Center in a
         manner that illustrates that she holds a leading or critical role for more than a department
         or component within the Center. The petitioner provided an Alzheimer's document and an
         NIH budget proposal but did not provide independent documentation that identified Dr.
         Pak's lab as an organization or establishment with a distinguished reputation. (Notice of
         Denial, Pages 4-5.)

         80.      Notwithstanding Defendant USCIS’s assessment, Dr. Pak’s letter provides

evidence that Dr. Yadav holds a critical role in his lab:

         Dr. Yadav plays a critical role in advancing our understanding of possible treatments for
         Alzheimer's disease in mice models. Her role is of utmost importance and is critical to the
         success of my lab's research projects. … Dr. Yadav plays a critical leadership role in my
         lab's Alzheimer's research. … A team of Ph.D. students work under the leadership of Dr.
         Yadav. She trains them and provides research guidance. In addition, she plays a critical
         role in imparting research training and direction to undergraduates in my lab. Dr. Yadav
         collaborates with and trains other post-docs in my laboratory on unique research techniques
         relating to glutamate receptors; drafts grant submissions relating to glucose metabolism
         and associated techniques; and provides overall guidance and leadership to the lab
         (including to me) related to research on the coordinated regulation of neuronal activity with
         metabolism or energy availability. For grant applications, Dr. Yadav's role will be critical
         to the lab's ability to continue in its Alzheimer's research, as we will be applying techniques
         on which Dr. Yadav is an expert. … Dr. Yadav's role is critical to the functioning of my
         laboratory, the success of my students, and our ability to obtain future research funding.”
         (Response to RFE, Exhibit 7.) Dr. Pak also provided evidence of the distinguished
         reputation of his lab: “My lab, the "paklab," at Georgetown focuses on experience-
         dependent remodeling of the brain. As noted above, my lab has been awarded a number
         of prestigious grants from the NIH and the Bright Focus Foundation. The paklab is known
         nationally and internationally as the leading lab conducting research on synaptic plasticity
         and Alzheimer's disease. … The paklab has won numerous awards and fellowships,
         including the AAAS Science and Technology Policy Fellowship, National Institutes of
         Health National Research Service Award, Rotary Club Fellowship, Georgetown
         Undergraduate Research opportunities Program (GUROP) Summer Research Fellowship,
         and the Harold N. Glassman Award for Most Meritorious Dissertation in the Sciences. The
         paklab has been funded with NIH ROls, R03s and R56 awards and other prestigious grants
         from private foundations. ... To have a well-funded lab in this climate speaks to the success
         and reputation of the paklab and its research. (Response to RFE, Exhibit 7.)


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         81.      In addition to Dr. Pak’s own letter and supporting evidence, Dr. Hansen provides

significant evidence of the reputation of the Paklab and of Dr. Yadav’s critical role:

         I was surprised to read that USCIS questioned Dr. Yadav's service in critical roles for
         organizations with distinguished reputations. USCIS suggests that Dr. Yadav must
         demonstrate that she led the University of Nebraska or Creighton University as a whole to
         satisfy the requirement. For most researchers, becoming the President of a university is an
         unreasonable goal. It seems more reasonable to focus on Dr. Yadav's critical roles in the
         labs she has worked in. Those labs have distinguished reputations in the scientific field,
         and her role at each has been critical. She has trained to younger researchers and has been
         instrumental in obtaining millions in funding for her labs. She recently joined the
         laboratory of Daniel Tae Sun Pak (paklab) at Georgetown University, which has one of the
         best reputations in the world for Alzheimer's research. … Dr. Yadav is a postdoc in the
         paklab, where she holds a pivotal and leading role, which is critical to its functioning.
         (Response to RFE, Exhibit 11.)

         82.      Dr. Hansen also speaks to Dr. Yadav’s other critical roles:

         “Dr. Yadav also held critical roles at Creighton University, the University of Nebraska,
         and at the Emerging Pathogens Institute at the University of Florida. In all three cases, her
         role was critical to the success of the lab and its continued receipt of funding. In all three
         cases, she left a lasting mark and has a continuing impact on the work being conducted.
         Dr. Yadav has a history of holding critical roles at distinguished organizations. No scientist
         would ever argue to the contrary. (Response to RFE, Exhibit 11.)

         83.      The Notice of Denial further errs in its characterization of the letter from Dr.

Shashank Dravid:

         The petitioner submitted a letter from Shashank Dravid who stated that Dr. Yadav worked
         in his lab prior to completing her PhD then returned from 2014 to 2016 to complete post-
         doctoral research. Dr. Dravid states that she was a prolific researcher conducting "pure"
         scientific research in his lab during that time. The petitioner provided a letter and grant
         detail describing the grants on which Dr. Yadav contributed. It is also evident that other
         researchers contributed with Dr. Yadav at Dr. Dravid's lab. The documentation does not
         distinguish the extent of her contributions during her student years or post-doctoral years
         when compared to other researchers at the lab, or with Dr. Yadav [sic] himself to credit her
         with a leading role within the lab, or a critical role consistent with this regulatory criterion.
         (Notice of Denial, Page 5.)

         84.      Dr. Shashank Dravid, Associate Professor in the Department of Pharmacology at

Creighton University describes his lab’s distinguished reputation, which USCIS does not dispute.

As to Dr. Yadav’s critical role, Dr. Dravid explains:




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         My research has been funded by leading research grant agencies such as the National
         Institutes of Health (NIH), the National Alliance for Research on Schizophrenia and
         Depression, the National Science Foundation (NSF), Nebraska EPSCoR, the Dr. George
         F. Haddix President Faculty Research Fund (Creighton University), and the Nebraska
         LB692 Faculty Development Award. … Dr. Yadav played a pivotal role in the research,
         experimentation, data submission, and the writing and review of the aforementioned grant
         applications. Dr. Yadav contributed enormously to the success of these projects, and
         without her critical contributions we may not have seen the successful completion of the
         projects. Dr. Yadav played a critical role in helping my laboratory secure this funding
         through the award of these grants to me and my laboratory. As we were a startup lab, these
         grants were critical to the operation of the lab, allowing us to further investigate the delta
         one receptor, to establish the lab’s authority in the glutamate delta one receptor field, and
         to publish prolifically in highly respected journals on this research topic. … In recent years,
         funding for scientific research has been extremely difficult to procure. My laboratory was
         able to remain funded in this difficult environment, and Dr. Yadav’s extraordinary research
         played an important part for this. (Response to RFE, Exhibit 10.)

         85.      Finally, the Notice of Denial reflects that Defendants discounted a letter from Dr.

Paras Mishra, arguing that the letter does not compare Dr. Yadav’s work to “all of the other

researchers or research projects conducted by the lab.” (Notice of Denial, Page 5.) However, the

nature of Dr. Mishra’s letter is, necessarily, a comparison of Dr. Yadav with other scientists in Dr.

Mishra’s lab and in the scientific community. The letter uses phrases of comparative analysis

throughout:

         Dr. Yadav is a global expert in the area of glutamate receptors. … Dr. Yadav held a critical
         role in the Mishra lab. … Her role was critical to the Mishra lab and the Cellular and
         Integrative Physiology Department as a whole, as her exceptional expertise in the brain
         and glutamate receptors brought a new perspective to our diabetes research. … Dr. Yadav’s
         extraordinary research focus in this area was critical to the studies we conducted in my
         lab. … This was something that only Dr. Yadav had the capacity to do. These studies were
         critical, and the data resulting from these studies would prove of tremendous importance
         to advance scientific knowledge. … Dr. Yadav, with her expertise and extraordinary
         background, was uniquely qualified to cover such studies. (Response to RFE, Exhibit 12,
         emphasis added.)

         86.      As demonstrated above, Defendants have committed multiple errors of law and

repeatedly disregarded, misinterpreted or mischaracterized relevant and probative evidence to

deny Plaintiff’s petition seeking classification as an individual of extraordinary ability in science.

Rather than considering Plaintiff’s evidence as a whole to determine whether she had made


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original scientific contributions of major significance in her field, Defendants’ “review excessively

focused on the significance of individual components of the submission.” Chursov v. Miller, No.

18-CV-2886 (PKC), 2019 WL 2085199 (S.D.N.Y. May 13, 2019) (failure to adequately consider

the totality of the evidence of EB-1A extraordinary ability was arbitrary and capricious).

          87.     In addition, Defendants have engaged in an arbitrary and capricious adjudication of

Plaintiff’s EB-1A visa petition by (a) adopting as a legislative rule and applying to Plaintiff the

purported obligation to conduct a final merits determination (despite their failure to comply with

the notice-and-comment rulemaking requirements of the APA), and then (b) declining to make a

final merits determination because in Defendant’s erroneous view only satisfied two but not at

least three of the relevant evidentiary criteria listed at 8 CFR § 204.5(h)(3)(i)-(x).

          88.     Under 5 U.S.C. §§ 702 and 704, Plaintiff has suffered a “legal wrong” and has been

“adversely affected or aggrieved” by agency action for which there is no other adequate remedy

of law.

          89.     Plaintiff has been denied the right to a lawful decision on her EB-1A visa petition

and her application for adjustment of status to that of a lawful permanent resident (a status that

would make her eligible for several research grants which require permanent residency as a

precondition to a grant award), and she has been denied the ability to continue her research studies

and her employment as a research scientist beyond an aggregate period of six years under 8 U.S.C.

1184(g)(4), which requires an approved or pending immigrant visa petition.

                                             COUNT ONE

   VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 701, ET
  SEQ., THE IMMIGRATION AND NATIONALITY ACT AND ITS IMPLEMENTING
              REGULATIONS – DENIAL OF EB-1A VISA PETITION

          90.     Plaintiff re-alleges and incorporates by reference, as if fully set forth herein, the

allegations in paragraphs 1-89 above.


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         91.      Plaintiff is entitled to review by this Court pursuant to 5 U.S.C. §§ 701-706.

         92.      A reviewing court shall “hold unlawful and set aside agency action . . . found to

be—arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A).

         93.      Defendants denied Plaintiff ‘s EB-1A Visa Petition grounds that are arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law in holding that the

evidence in the record was insufficient to establish that she is a research scientist of extraordinary

ability in her field of endeavor, namely, the molecular characterization of the glutamate delta one

receptor (“GluD1”) and its role in brain disease who seeks to enter the United States to continue

work in her area of extraordinary ability, and whose entry into the United States will substantially

benefit prospectively the United States.        Plaintiff submitted more than sufficient evidence

demonstrating that she satisfied the statutory requirements for classification as a priority worker

under 8 U.S.C. § 1153(b)(1).

         94.      Defendants failed to properly consider all record evidence and failed to determine

as required by the INA whether Dr. Yadav was a research scientist of extraordinary ability who

would continue her work in the future once accorded lawful permanent resident status in ways that

would substantially benefit the United States.

         95.      In addition, Defendants reached factual conclusions as to relevant regulatory

criteria unsupported by any evidence in the record; misconstrued the applicable regulations;

impermissibly imposed evidentiary requirements beyond those required by Congress; and

erroneously concluded that Plaintiff had not demonstrated that her EB-1A petition and supporting

evidence qualified her for approval as a research scientist of extraordinary ability.




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         96.      Defendants' errors, singly and in combination, were arbitrary, capricious and in

violation of the law. Consequently, Defendants acted arbitrarily, capriciously, and unlawfully in

violation of the APA, the INA, and the immigration regulations by denying Plaintiff’s EB-1A Visa

Petition.

                                            COUNT TWO

      VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 701,
         ET SEQ., THE IMMIGRATION AND NATIONALITY ACT AND ITS
        IMPLEMENTING REGULATIONS – DENIAL OF APPLICATION FOR
                         ADJUSTMENT OF STATUS

         97.      Plaintiff re-alleges and incorporates by reference, as if fully set forth herein, the

allegations in paragraphs 1-96 above.

         98.      Defendants’ actions were arbitrary, capricious, an abuse of discretion and otherwise

in violation of the law, and therefore contrary to the APA, in failing to exercise discretion in the

adjudication of her adjustment of status application and denying it solely based on their unlawful

denial of her EB-1A Visa Petition.

                                      REQUEST FOR RELIEF

         WHEREFORE, Plaintiff requests that this Court:

         1.       Declare that Defendants' determination that Plaintiff had not established in her EB-

1A petition her qualifications as a research scientist of extraordinary ability was arbitrary and

capricious and not in accordance with law in violation of the APA, 5 U.S.C. § 706(2)(A), the INA

and the Defendants’ own regulations;

         2.       Declare that the requirement of a final merits determination in PM-602-0005.1 to

the extent Defendants claimed that such a requirement applied to Plaintiff was ultra vires and

inconsistent with Defendant USCIS’s regulations, was arbitrary and capricious and not in

accordance with law, in violation of the APA, 5 U.S.C. § 706(2)(A), and the INA;




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         3.       Declare that sufficient evidence exists in the administrative record establishing that

Dr. Yadav is a research scientist of extraordinary ability, that upon the adjustment of her status to

lawful permanent resident, she intends to continue to demonstrate extraordinary ability in pursuing

her area of scientific research, and that her prospective research contributions will substantially

benefit the United States.

         4.       Vacate the denial of Plaintiff’s EB-1A petition and remand this matter to

Defendants with instructions that, within ten days of the date of the Court's Order, they approve

the Form 1-140, Immigration Petition for Alien Worker, previously filed by Plaintiff on May 31,

2017 and accord the petition its original date of filing as the immigrant visa priority date;

         5.       Vacate the denial of Plaintiff’s adjustment of status application and remand this

matter to Defendants with instructions that, within ten days of the date of the Court's Order, they

reinstate and continue to process in the ordinary course her Form 1-485, Application to Register

Permanent Residence or Adjust Status, previously filed by Plaintiff pending the availability of an

immigrant visa;

         6.       Award reasonable attorneys’ fees and costs pursuant to the Equal Access to Justice

Act, 28 U.S.C. § 2412(d), 5 U.S.C. § 504, or any other applicable law; and

         7.       Grant such other relief as the Court deems just, equitable and proper.




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DATED: September 12, 2019                    Respectfully submitted,

                                             SEYFARTH SHAW LLP



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